Ramirez Amended
Complaint EXHIBIT “3”
From: Allie Ah Loy allie@sweetlawfirm.com @
Subject: RE: Ramirez v. KCJFA, Jones, Gray, Otto & Turnkey: 21-971-JD - Turn Key Contract
Date: February 3, 2022 at 2:10 PM
To: Tim Gilpin timgilpin@gilpinlaw.net
Cc: jim@czwiaw.com, Dimitrios Panagopoulos dimitrios@dpoklaw.com, Garrett Molinsky garrett.molinsky@ sweetlawfirm.com

Tim,

Here are the copies of the contract and amendments through the dates of care that Turn Key
has within its possession.

As we discussed, these are a matter of public record, and ! am not in any way conceding or
agreeing that Turn Key is subject to the Open Records Act—which they are not—nor am |
agreeing to open discovery, by providing these to you.

Thanks,

Allie

Alexandra G. Ah Loy

Partner : Sweet Law Firm
24 West Park Place, Oklahoma City, Oklahoma 73103
Office (405) 601-9400 : Mobile (405) 919-8190

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From: Tim Gilpin <timgilpin @gilpinlaw.net>

Sent: Thursday, February 3, 2022 1:43 PM

To: Allie Ah Loy <allie@sweetlawfirm.com>

Cc: jlm@czwlaw.com; Dimitrios Panagopoulos <dimitrios@dpoklaw.com>; Garrett Molinsky
<garrett.molinsky@sweetlawfirm.com>

Subject: Ramirez v. KCJFA, Jones, Gray, Otto & Turnkey: 21-971-JD - Turn Key Contract

Ms. Ah Loy: | hope you are surviving the cold weather. In our counsel conference yesterday we
discussed, in part, that a copy of the contract between Turn Key and KCJFA was provided me via
an Open Records Request. However, that copy is not the best quality. You offered to provide me
a better copy.

Please do provide me a good copy of the contract between Turn Key and KCJFA relevant
to the period of Mr. Ramirez’s incarceration. Thank you, Tim Gilpin

Vatedgeltabbar

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cece) Phones 918.583.8900
Fax: 918-796-5789

KAY COUNTY, OKLAHOMA
CONTRACT FOR
MEDICAL SERVICES

AT THE

KAY COUNTY DETENTION CENTER

For
KAY COUNTY JUSTICE FACILITIES AUTHORITY
DON JONES, DIRECTOR
580-362-3393
1101 WEST DRY ROAD
NEWKIRK, OR 74647
This Contract is entered into between Kay County Justice Facilities Authority
(“Agency”) and ESW Correctional Healthcare (-Contractor”). The purpose of this Con-
tract is to contract tor the Medical Staffing and Administration of the Kay County Deten-
tion Center under the terms and conditions detailed in the Contract.

I. DUTIES AND RESPONSIBILITIES OF THE CONTRAC-
TOR

SCOPE OF CONTRACT

Contractor shall be the sole supplier and/or coordinator of the health care delivery system
at the Facility. Contractor shall be responsible for all medical care for all Kay County
inmates (except Wark Release inmates who shall. when in the Facility, receive only
emergency care from the provider) at the Facility up to the limits described in this con-
tract. This responsibility of the Contractor for the medical care of an inmate commences
with the commitment of the inmate to the custody of the Facility and ends with the re-
lease of the inmate.

INSURANCE
The Contractor will carry professional liability insurance in minimum amounts of One
Million Dollars ($1.000.000.00) per occurrence and Three Million Dollars

($3.000,000.00) in the aggregate annually.

COMPLIANCE WITH APPLICABLE LAW

‘The Contractor will comply with the standards set forth by the Oklahoma Department of
Health for the duration of the term of this Agreement with the County.

CONTRACTOR COGPERATION

All Contractor personnel, including the personnel of its subcontractor and agents. will be
subject to security background checks and clearances by the Agency. In each instance,
the individual and the Contractor will provide such cooperation as may be reasonably re-
quired to complete the security check. The County agrees to perform such security
checks ina timely manner and not unduly delay such checks.

CONTAMINATED WASTE

Vhe Contractor shall be responsible for the disposal of all veneral waste, including intec-
tious or hazardous waste. The material must be removed from the facility and disposed
of as regulated by federal. state and jocal laws.

PHARMACEUTICAL

The Contractor shall provide a complete pharmaceutical system for inmates housed at the
Facility. The Contractor will be responsible to pay the costs of all pharmaceutical as re-

quired by current applicable law up to the annual ageregate limits set forth by this agree-
ment.
The Contractor shall provide for pharmaceutical services to assure the availability of pre-
scribed medications within (24) hours of the order of issue being written except where
such medications are not readily available in the local community. Pharmaceutical ser-
vices shall be consistent with State and Federal regulations, and must be monitored by a
licensed qualified pharmacist.

Uhe Contractor shall provide for the purchasing. dispensing. administering and storage of
all pharmaccuticals by qualified personnel and for the proper storage of psychotropic
medications as prescribed to inmates.

The Contractor shall provide for the recording of the administration of medications in a
manner and on a form pre-approved that includes documentation of the fact that inmates
are receiving and ingesting their prescribed medications. Documentation will also be re-
quired when an inmate's ordered medication was not administered and the reason given.

MEDICAL CO-PAY SYSTEM

The Contractor will obtain inmate co-payment authorization slip from each inmate medi-
cal encounter as directed by the Agency Inmate charges will be established by the Agen-
cy in accordance with Oklahoma State Statute. Fees for services will be collected direct-

iy from the Agency and will be utilized by the Agency. The contractor will not collect
any of the fees from the inmates.

MAXIMUM LIABILITY

Contractor's Maximum annual liability for offsite and pharmaceuticals will be thirty
thousand dollars ($30.000.00) for the combination of off site medical bills and pharma-
ceuticals. Total annual ability tor HIV related medications shall be one thousand two
hundred dollars ($1,200). These agerevate limits shall be pro-rated accordingly on a dai-
ly rate basis for services provided during a partial vear of services.

IMMUNITY FROM LIABILITY

The Contractor agrees to indeninify and to hold the Agency and its agents harmless for,
from, and against any and all claims. suits, expenses, damages. or other Habilities, includ-
ing reasonable attorney fees and court costs arising out of damage or injury or property
caused or sustained by any person or persons as a result of the performance or failure of
the Medical Services provider to provide services pursuant to the terms of the contract.
Save and except the final decision whether to pay or deny any off-site medical or phar-
maceulical service will reside with the County. and accordingly, Contractor will not be
required to indemnify County for claims relating to that decision.

FILING WITH INSURANCE

Contractor will be responsible to ensure that, whenever possible, insurance claims are
filed for inmate medical expenses.

NEGOTIATION OF DISCOUNTS

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Contractor shall use its best efforts to negotiate discounts for all off-site medical and
pharmaccuticals. In the event the maximum liability of the Contractor is met during the
contract period. Agency will be allowed to use the contractual discounts negotiated by
Contractor.

PERSONNEL RECORD KEEPING

The Contractor shall. upon request. provide to the County proof of licenses and/or certifi-
cates for all professional staff. In addition, malpractice insurance must be available for
all physicians and Nurse Practitioners/Physician Assistants. and other employees. if ap-
plicabie.

SCHEDULES

Copies of staffing schedules encompassing all health care staff are to be submitted to the
Detention Director upon written request to Flint Junod.

STATISTICS

Monthly and daily statistics will be maintained and submitted to the Detention Director
when requested on a monthly basis.

GRIEVANCES

Grievances shall be monitored to detect areas ef concern. Inmate grievances shail be
documented on a log and a response shall be prepared.

EMERGENCY ASSISTANCE

The Contractor shall. in times of emergency or threat thereof. whether accidental, natural
or man-made. provide medical assistance to the County Sheriff's Department to the ex-
tent or degree required by the Kay County Sheriffs Department policies and procedures.

MEDICAL AND NURSING SERVICES PROVIDED

1. Medical unit coverage 12 hours a day, seven days a week, including at a minimum:

a. 84 hours a week LPN/CMA coverage, including all holidays. This will
require approximately 2.1 LPN/CMA FTEs;

b. A Physician or Nurse Practitioner who will provide an on-site clinic on a
regular, as-needed basis;

c. A Physician or Nurse Practitioner whe will provide 24 hours a day, seven
days a week on-call coverage for consultation on an as needed basis,
which could include off-site or on-site consultations:

d. A Mental Health Professional who will provide 5 hours a week on site
coverage and consultation on an as needed basis, which could include off-
site or on-site consultations.

2. Intake screening, including medical history forms on all inmates at the time of admis-
sion, as requested by jail personnel:
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3. Medications as prescribed:

4. Sick call triage and follow-up on a daily basis to include weekends and holidays:

8. Appropriate and timely response to medical needs and emergencies; and

6. Personne! files (or copies thereof} of contract employees assigned to the Facility are
to be maintained at ES W’s corporate office and shall be available to the Detention Di-

rector upon written request.

DENTAL CARE

The Contractor shail provide emergency dental care for each inmate under the direct su-
perviston of a licensed dentist. Dental care will be considered off-site medical.

TESTIFYING IN COURT

Contractor personnel shall be aware that they might, from time to time. be subpoenaed to

testify in court regarding medical treatment. Overtime. if any. associated with this obli-

vation is the responsibility of the Contractor. Contractor will keep the agency informed
of any and all requests.

POLICIES AND PROCEDURES / PROTOCOLS

A written manual of standardized policies and defined procedures will be available at all
times for contractor personnel. Nursing protocols shall be devised and approved by a
physician licensed in the state of Oklahoma. Policies and procedures and nursing proto-
cols will be reviewed at least annually and revised as necessary.

LABORATORY AND X-RAY SERVICES

The Contractor shall provide for necessary laboratory and x-ray services. The cost of
these services will be considered off-site medical care. regardless of where the se
are performed.

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TRANSPORTATION

The Contractor will arrange for inmate transportation for emergency ambulance care.
The cost of these services will be considered off-site medical care and will be included as
part of the agegrevate offsite and pharmaceutical cap. The County will be responsible to
provide all other transportation reiating to the provision of health services.

NON-INMATE HEALTH SERVICES

Non-inmate health services shall be provided in the form of emergency care for stalf and
visitors for the purpose of stabilizing the condition and arranging for transport. Emergen-
ey services include first aid, assessment, stabilization and the coordination of transport of
employees or visitors who become if or injured in the Facility.

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The Contractor shall administer the Hepatitis B vaccination program for all Detention
Facility staff as requested. However, the agency will bear the cost of the vaccine.

‘The Contractor shall provide annual Tuberculosis Skin Testing (TST) for all Detention

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MEDICAL RECORDS REQUIREMENTS

A medical record consistent with state regulations and community standards of
practice shall be maintained for each inmate held beyond the first appearance in
court. These records shall be kepi separate from the jail confinement records of
the inmate.

Individual health care records will be initiated and maintained for every inmate
regarding medical, dental, or mental health services received as a result of the in-
mate screening process and for services rendered following the inmate’s assign-
ments to a housing area,

in any case where medical care is at issue, or in any criminal or civil tigation
where the physical or mental condition of an inmate is at issue, the Contractor
shall make accessible to the Detention Director, or designee, such records and,
upon receipt, provide copies. The Coniractor additionally acknowledges compli
ance with and understanding of all applicable HIPAA requirements as they apply
to correctional facilities.

The Contractor acknowledges and agrees that all records prepared or acquired by
the Contractor during performance of services under the contract are the property
of the Sheriff's Department. The Contractor shall be considered the records cus-
todian during the duration of the contract.

(fan inmate medical record cannot be located within twenty-four (24) hours of a
discovered logs, the Detention Director shall be immediately notified.

Inactive medical records will be maintained in accordance with the laws of the
State of Oklahoma and the American Medical Association.

Any and all legal actions or requests affecting inmates and/or the medical contract
provider must be provided. in writing, to the Detention Director within twenty-

four hours.

INMATES FROM OTHER JURISDICTIONS

The Contractor will provide onsite services for inmates incarcerated at the Kay County
Detention Center for the Oklahoma Depariment of Corrections. County municipalities
and other custodial jurisdictions. However. offsite and pharmaceutical costs associated
with inmates from other jurisdictions shall not be the responsibility of the contractor. The
Contractor shall promptly notify the Detention Director for any needed pharmaceutical or
offsite care for such inmates and shall provide documentation of required treatment to the
custodial jurisdiction as requested. The Contractor shall submit all related bills to the De-

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rontion Director to ensure reimbursement to the County of all outside medical expenses
and cost of pharmaceuticals that may have incurred on behalf of such inmates.

Ii. DUTIES OF AGENCY

REIMBURSEMENT FOR SERVICES

The reimbursement for this initial contract from Agency io Contractor is to be made on a
monthly basis in the amount of Twenty-Two Thousand Dollars and zero cents
($22.000.00), pro-rated for any partial months and subject to any reconciliation as appli-
cable. The first payment for the partial month of February is to be paid to the Contractor
on the 12th day of February. 2015 for services administered for the partial month of Feb-
ruary. This payment shall be pro-rated in the amount of Thirteen Thousand Three Hun-
dred Fifty-Seven Dollars and fourteen cents ($1 3.357.14). All subsequent payments shall
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be paid in the full amount by the Agency to the Contractor before or on the | day of the
month of the month of service.

This Agreement shall cover services provided by the Contractor for the Agency with a

facility average daily population (ADP) up to three hundred (300) inmates. The ADP will
be calculated as the monthly total for all inmates in the jail at 8:00am each day divided by
the number of days in that month. Should the ADP exceed 300 inmates for three consec-
ative months. the Contractor and Agency agree to renegotiate the terms of reimbursement

for the contract.

USE OF FACILITY AND EXISTING EQUIPMENT

Agency agrees that Contractor will be provided appropriate space in the Detention Center
to perform all required duties and that the Contractor will be allowed use of the current
equipment and supplies currently at the Detention Center as necessary.

In the event additional equipment needs to be purchased. it will be the Agency s respon-
sibility to purchase the required equipment and it will be owned by the Agency.

ill. GENERAL TERMS AND CONDITIONS

ALTERATIONS TO CONTRACT

Any alterations. variations, modifications. or waivers of the provisions of the contract
will be valid only if they are reduced to writing, duly signed by the parties and atiached to
the original contract.

FORCE MAJEURE

Neither party shall be liable in damages or have the right to terminate this Agreement for
any delay or default in performing hereunder if such delay or default is caused by condi-

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tions beyond its control including. but not limited to Acts of God, Government re-
strictions (including the denial or cancellation of any export or other necessary license).
wars, insurrections and/or any other cause beyond the reasonable control of the party
whose performance is affected.

CONTRACTOR PERSONNEL

‘The County shall have the right to reject the employment by the Contractor of any person
or firm, and to require the removal of any person or firm employed or engaged by the
Contractor, when it deems such action te be in its best interest and in the best interest of
attaining successful implementation of its correctional medical staffing and administra-
tion services program. It is further noted that the right of entrance by any person to the
Detention Center is under the sole jurisdiction of the Detention Director.

TERMINATION OF CONTRACT

A. Mutual Termination of Contract

1. If either party fails to fulfill its obligations under the Contract in a umely
proper manner, or if either party violates any material covenant, agree-
ment. or stipulation of the Contract, the party shall thereupon have the
right to terminate the Contract by giving written notice to the other party
of termination which will occur no less than 60 calendar days after the
date of notice. The notice shall specify the effective date of the termina-
tion. and the reasons therefore. unless the party to whom notice is given
cures the breach to the satisfaction of the party giving notice prior to the

effective date of termination,

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Notwithstanding the above, the Contractor shall not be relieved of liability
to the County for damages sustained by the County by virtue of any

breach of the Contract by the Contractor and the County may withhold any
payments to the Contractor, in an amount reasonably calculated to equal
the estimated damages. for the purpose of setoff until such time as the ex-
act amount of damages to the County from the Contractor is determined.

(3. ‘Termination for Convenience of the County

The County may terminate the Contract at any time by giving written notice to the
Contractor of termination which will occur no less than 120 calendar days alter
the date of notice and specify the effective date thereo f. if the Contractor is ter-
minated by the County without cause as provided in this paragraph. the Contrac-
tor will be paid in an amount which bears the same ratio to the total compensation
as the services actually performed bear to the total services of the Contractor cov-
ered by the Contract. less payments of compensation previously made.

Cc, Payment due to Termination

In ease the services of the Contractor are determined to be unsatisfactory, or be-

cause of the Contractor's failure to prosecute the work with diligence or within

the time specified, the County will pay the Contractor for work accomplished to
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KAY COUNTY JUSTICE FACILITIES AUTHORITY
CONTRACT FOR MEDICAL STAFFING AND ADMINISTRATION
THIRD AMENDMENT

This Amendment shall serve as a revision to the Contract for Medical Staffing
and Administration (the “Main Agreement’) between the Kay County Justice Facilities
Authority (Authority’) and Turn Key Heaith Clinics, LLC. (“Contractor”) which
initiated on February 12, 2015 at the Kay County Detention Center.

in consideration to the mutual covenants contained herein, the receipt and
sufficiency of which are hereby acknowledged, it is agreed upon as follows:

1. The terms and conditions of this Amendment, as set forth below, shali be
effective as of July 1, 2076.

Pursuant to Section 2.1 of the Main Agreement, the parties hereby

acknowledged the Contract shall be revised to require:

. The reimbursement from Authority to Contractor is to be made on a
monthly basis in the amount of Twenty-One Thousand Six Hundred
Seventy-Five Dollars and zero cents ($21,675.00), a 2.0% increase
for the new contract year. The reimbursement shall be pro-rated
for any partial months and subject to any reconciliation as

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applicable.
3. in ail other respects, the terms and conditions of the Main Agreement and
prior Amendments shail continue unchanged and remain in full force and
effect.

Turn Key Health Clinics, LLC Kay County Justice Facilities Authority

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Flint Jugdd. Chief Oneratihg Officer

ATTEST:

